Construction of the will of Louis J. Petit.  Proceedings begun May 4, 1944, by the First Wisconsin Trust Company, trustee under the will.  Douglas W. Petit, Douglas Petit Bournique, and August U. Pabst and Evelyn Throsby Petit were interpleaded as claimants of the residue of the trust fund. *Page 621 
Judgment granted the residue of the trust fund to Evelyn Throsby Petit. interpleaders appeal.
Louis Petit, by his will, bequeathed to the First Wisconsin Trust Company, as trustee, $200,000 to pay an annuity of $12,000 in equal monthly instalments on the first day of each month, to his son, Clement Petit.  The trust provided that twenty years after testator's death, the trustee was to deliver the residue of the trust fund to Clement.  In event of the son's death before that date, Clement was given a power of appointment as to the residue in the following terms:
"The power of appointment hereinbefore mentioned shall be exercised by the said Clement M. Petit by his will, or instrument in writing, executed, witnessed, acknowledged and filed with the trustee.  The appointees shall be limited to his wife, if he leaves children by said wife him surviving, and to his children, or any other of my descendants other than the said Clement M. Petit, even though not born at the time the exercise of the power shall become effective.  The exercise of the power shall refer thereto and the appointment may be of one or more of said persons. . . ."
The will further provides that if Clement M. Petit fails to exercise the power, the residue of the trust fund shall be for the exclusive benefit of the descendants of Louis Petit. Clement died childless on January 18, 1944.  By his will, he appointed his wife, Evelyn Throsby Petit, sole beneficiary and provided that in the event her appointment be not valid, the residue should go to the First Wisconsin Trust Company, in trust for the benefit of appellant, D. W. Petit for life, remainder to D. P. Bournique or his descendants.
The county court found that the language of the will of Louis Petit was certain and free from doubt, and adjudged the appointment of the wife valid and the alternative appointment void and of no effect.
It was also ruled that the instalment of annuity which would have become payable to Clement M. Petit, on *Page 622 
February 1, 1944, was apportionable as of January 18, 1944, the date of Clement's death; and that the proper proportion thereof should be paid to the executrix of the estate of Clement M. Petit.
The primary question raised on this appeal is whether the power of appointment given by the will of Louis Petit was validly exercised in favor of the wife of Clement, he having died childless.  Appellant contends that the lower court erred in construing the provision for the power of appointment to permit Clement to appoint his wife as beneficiary when there were no children him surviving.
Respondent and appellants and the lower court all assert that the words of the will are plain and unambiguous and therefore not open to judicial construction.  Yet there has been created a decided disagreement over the provision providing for the appointment.  If the language of the will is clear when read with the generally accepted rules of grammar and punctuation in mind, and when the result reached is not patently absurd, there is no room for judicial construction.Benner v. Mauer (1907), 133 Wis. 325, 113 N.W. 663;Mitchell v. Mitchell (1905), 126 Wis. 47, 105 N.W. 216;Holmes v. Walter (1903), 118 Wis. 409, 95 N.W. 380;Upham v. Plankinton (1913), 152 Wis. 275, 140 N.W. 5;Will of Waterbury (1916), 163 Wis. 510, 158 N.W. 340;Estate of Rosecrantz (1924), 183 Wis. 643, 198 N.W. 728.
The provision giving Clement Petit the power of appointment reads as follows:  "The appointees shall be limited to *Page 623 
his wife, if he leaves children by said wife him surviving, and to his children, or any other of my descendants."  The clause, "if he leaves children by said wife him surviving" is a conditional clause limiting the permissive appointees and fixes the condition under which the wife may be included.  If Clement died childless, his wife was not to be a valid appointee.  To construe the clause as respondent urges would do violence to established grammatical rules as well as the generally and popularly accepted meaning of such a phrase.  The only way in which the words "if he leaves children by said wife him surviving" could be construed to modify "children" is to transfer the conjunction, and, so that the provision would read as follows:  "The appointees shall be limited to his wife,and if he leaves children by said wife him surviving, to his children or any other of my descendants."  Even if the comma after wife is read as a semicolon or full stop, the sentence is meaningless and could not be made to serve respondent's contention unless the conjunction and is removed entirely or transferred from the position in which the testator placed it.  The court cannot redraw a will by moving words or ignoring punctuation where the provision as drawn is complete and unambiguous.  There seems to be no escape from the conclusion that the words clearly mean that the wife might be appointed if Clement left children by said wife, him surviving.
An opposite conclusion cannot be sustained.  A feeling that testator did not intend absolutely to prohibit the appointment of the wife cannot override the plain language of the provision.  And it is probable that testator wished the residue of the trust fund to be given to Clement's wife only if she had children; as that would probably result in a benefit to his grandchildren and would be somewhat in accord with a preference that those of his own blood take under the will.
The second question relates to the apportionability of the annuity instalment accruing after the death of Clement on *Page 624 
February 1, 1944.  The lower court held that the instalment was apportionable and the proper proportion representing that due Clement for the first eighteen days in January should be paid to his estate.
The rule, where it has not been changed by statute, is that an annuity created either by contract or by will is not apportionable.  See 116 A.L.R. 135, for a review of the cases; 2 Scott, Trusts, p. 1330, sec. 238.1.  In Henry v.Henderson (1902), 81 Miss. 743, 33 So. 960, the reason for the rule is set out.  It "rests not only upon the fact that an annuity is usually payable upon a day certain, but also, and chiefly, upon the very nature and character of the annuity as not accruing from day to day, and hence not apportionable." Most courts recognize an exception to the rule when the annuities are given for the support or maintenance of an infant or married woman living separate from her husband.Tracy v. Strong (1818), 2 Conn. 659; Chase v. Darby
(1896), 110 Mich. 314, 68 N.W. 159.  And some courts have extended this exception to include annuities for the support of others than infants and wives living apart from their spouses.  Cincinnati v. Strobridge (1899), 7 Ohio N. P. 532, 9 Ohio Dec. N. P. 652; Burrows Estate (1905), 15 Pa. Dist. 57; Re Lackawanna Iron  Coal Co. (1883) 37 N.J. Eq. 26. The Restatement, 1 Trusts, p. 719, sec. 238 (2) (b), states an exception to the rule against apportionability where "the provision was made for the support of the beneficiary."
In the case at bar, the annuity was for $12,000 payable in monthly instalments.
The provision for cesser in case the annuity becomes payable to anyone else and the discretion on the part of the trustee during cesser to apply the income or corpus to. the support of Clement, his wife, and children does not indicate that the trust was one for support but is rather a provision allowing payment toward support of the son upon the happening *Page 625 
of a specified contingency and one which did not come into existence.
Although the rule against apportionability as applied to annuities created by trust may seem to be less in accordance with the purpose of the testator than allowing it, the rule is well settled and, in the absence of statute providing otherwise, must be adhered to.
By the Court. — Judgment reversed as to the appointment of Evelyn Throsby Petit and the apportioning of the annuity. Cause remanded with instructions to hold valid the alternative appointment.